                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TEXAS
                                         AUSTIN DIVISION

 UNITED STATES OF AMERICA,                              §
                                                        §
                            Plaintiff.                  §
                                                        §
 v.                                                     §      CRIMINAL NO. A-21-M-935
                                                        §
 FRANKLIN BARRETT SECHRIEST,                            §
                                                        §
                            Defendant.                  §

                                         MOTION FOR DETENTION

           Under Title 18, United States Code, Section 3141, et seq., the United States moves for pretrial

detention and would respectfully show the Court the following:

1.         The pending case involves:

     [X]   (A)    A crime of violence, or an offense listed under 18 U.S.C. § 2332b(g)(5)(B) for which a
                  maximum term of imprisonment of 10 years or more is prescribed.

     []    (B)    An offense for which the maximum sentence is life imprisonment or death.

     []    (C)    An offense for which a maximum term of imprisonment of 10 years or more is prescribed
                  in the Controlled Substances Act, the Controlled Substances Import and Export Act, or the
                  Maritime Drug Law Enforcement Act.

     []    (D)    A felony committed after Defendant had been convicted of 2 or more prior offenses
                  described in 18 U.S.C. '' 3142(f)(1)(A)-(C) or comparable state or local offense.

     []    (E)    A felony (not a crime of violence) that involves: a minor victim; possession or use of a
                  firearm, destructive device, or dangerous weapon; or failure to register (18 U.S.C. § 2250).

     [X]   (F)    A serious risk that Defendant will flee.

     [X]   (G)    A serious risk that Defendant will obstruct or attempt to obstruct justice, or attempt to
                  threaten, injure or intimidate a prospective witness or juror.

2.         A rebuttable presumption arises that no condition or combination of conditions will
           reasonably assure the appearance of Defendant as required AND the safety of any other
           person and the community, because there is probable cause to believe that:

     []    (A)    Defendant committed an offense for which a maximum term of imprisonment of 10 years
                  or more is prescribed in the Controlled Substances Act, the Controlled Substances Import
                  and Export Act or the Maritime Drug Law Enforcement Act.
     []    (B)     Defendant committed an offense under 18 U.S.C. ' 924(c), 956(a), or 2332b.

     [X]   (C)     Defendant committed an offense listed under 18 U.S.C. ' 2332b(g)(5)(B) for which a
                   maximum term of imprisonment of 10 years or more is prescribed.

     []    (D)     Defendant committed an offense involving a minor victim under 18 U.S.C. ' 1201, 1591,
                   2241, 2242, 2244(a)(1), 2245, 2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3),
                   2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4), 2260, 2421, 2422, 2423, or 2425.

3.         No condition or combination of conditions will:

     [X]   (A)     Reasonably assure the appearance of Defendant as required.

     [X]   (B)     Reasonably assure the safety of the community or any other person.

4.         So that the United States can prepare for said hearing, the United States moves that the
           detention hearing be continued for

     [X]   Up to three (3) days, pursuant to 18 U.S.C. ' 3142(f).

     []    Up to ten (10) days, pursuant to 18 U.S.C. ' 3142(d), because Defendant may flee or pose a danger
           to another person or the community and:

           []      (A)     Defendant committed the charged offense while released pending trial or sentence,
                           or while on probation or parole.

           []      (B)     Defendant is not a citizen of the United States or lawfully admitted for permanent
                           residence.

           The United States may offer additional reasons for detention other than those indicated above as

the investigation proceeds and new information becomes available.

           WHEREFORE, PREMISES CONSIDERED, the Government requests that Defendant be held

without bond.

                                                           Respectfully submitted,

                                                           ASHLEY C. HOFF
                                                           United States Attorney

                                                           /s/ Matthew Devlin
                                             By:
                                                           __________________________________
                                                           MATTHEW DEVLIN
                                                           Assistant United States Attorney
